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 6   and Debtors in Possession
 7
                         UNITED STATES BANKRUPTCY COURT
 8

 9                       CENTRAL DISTRICT OF CALIFORNIA

10                               SANTA ANA DIVISION
11

12   In re:                                )   Lead Case No.: 8:15-bk-11875 MW
                                           )
13
     The Little Saigon News                )   Chapter 11 Cases
                                           )
14   Incorporated,                         )
                                           )
15             Debtor and                  )
               Debtor in Possession,       )
16
     _______________________________       )   Jointly administered with:
                                           )
17   In re:                                )   Case No. 8:15-bk-11876 MW
                                           )
18   Brigitte Laure Huynh,                 )   OBJECTION TO NV CREDITOR’S
                                           )   PLAN; DECLARATION OF LEONARD
19
               Debtor and                  )   PEÑA
                                           )
20             Debtor in Possession.       )
     _______________________________           DATE:    February 3, 2016
                                           )   TIME:    2:00 P.M.
21   _ Affects Both Debtors                )   CTRM:    6C
                                           )   PLACE:   411 West Fourth Street
22
     X Affects The Little Saigon           )            Santa Ana, CA 92701
                                           )
23     News Incorporated Only              )
                                           )
24   _ Affects Brigitte Laure Huynh        )
       Only                                )
25
                Debtors and                )
                                           )
26              Debtors in                 )
                Possession.                )
27                                         )
                                           )
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 1         The Little Saigon News Incorporated and Brigitte Huynh
 2   (“Debtors”) by and through their undersigned counsel, object to
 3   confirmation of the NV Creditors’ Chapter 11 Plan Of
 4   Reorganization For Debtor Little Saigon News Incorporated Dated
 5   September 29, 2015 (“Plan”) [dkt. #141], and requests the Court
 6   deny confirmation for the reasons set forth herein.
 7   I.    INTRODUCTION
 8         The Court should deny confirmation of the Plan for the
 9   following reasons:
10         • Plan is presented in bad faith because it does not
11   resolve the substantial claims of Joseph Le and Brigitte Huynh.
12         • Plan is infeasible as presented and even without the Le
13   and Huynh claims
14         • Plan includes non-debtor third party releases and
15   exculpation provisions that are contrary to the Code or
16   prevailing legal authority because the provisions are overly
17   broad.
18         • Plan unfairly discriminates and subrogates claims.
19         • Votes in favor of the Plan were cast with an ulterior
20              motive of destroying the Debtor not with a legitimate
21              creditor motive.
22   II.   LEGAL AUTHORITY
23         A.     Confirmation Standards
24         Section 1129 of the Bankruptcy Code contains 16 standards
25   that must be met for the Court to confirm a plan. 11 U.S.C. §
26   1129.    The plan proponent bears the burden of establishing
27   compliance with Section 1129 of the Bankruptcy Code.            In re
28   Charter Commc’ns, 419 B.R. 221 (Bankr. S.D.N.Y. 2009) (citing
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 1   Heartland Fed. Savs. & Loan, Ass’n v. Briscoe Enters. (In re
 2   Briscoe Enters.), 994 F.2d 1160, 1165 (5th Cir. 1993) (stating
 3   that “[t]he combination of legislative silence, Supreme Court
 4   holdings, and the structure of the Code leads this Court to
 5   conclude that preponderance of the evidence is the appropriate
 6   standard of proof both under § 1129(a) and in a cramdown”)); In
 7   re Worldcom, Inc., No. 02-13533 (AJG), 2003 WL 23861928, at *46
 8   (Bankr. S.D.N.Y.Oct. 31, 2003) (citing Briscoe).            Section
 9   1129(a)(1) of the Bankruptcy Code requires that the Court find
10   that the plan “complies with the applicable provisions of [the
11   Bankruptcy Code].” 11 U.S.C. §1129(a)(1).          Section 1129(a)(2)
12   provides that in order to be confirmable, the proponent of the
13   plan must comply with the applicable provisions of the
14   Bankruptcy Code. 11 U.S.C. § 1129(a)(2).          Section 1129(a)(3)
15   provides that the plan be proposed in good faith. 11 U.S.C. §
16   1129(a)(3).
17         B.    The Plan Cannot Be Confirmed Because It Is Not
18               Feasible.
19         The Debtors’ proposed Plan is not feasible because the NV
20   Creditors cannot satisfy Section 1129(a)(11) of the Bankruptcy
21   Code.   That provision requires that “[c]onfirmation of the plan
22   is not likely to be followed by the liquidation, or the need for
23   further financial reorganization, of the debtor or any successor
24   to the debtor under the plan, unless such liquidation or
25   reorganization is proposed in the plan.”          11 U.S.C. §
26   1129(a)(11).    Section 1129(a)(11) requires that “courts
27   scrutinize carefully the plan to determine whether it offers a
28   reasonable prospect of success and is workable.” In re
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 1   Beyond.com Corp., 289 B.R. 138, 145 (Bankr. N.D. Cal. 2003). The
 2   proposed Plan in this case is not which is fatal to
 3   confirmation.
 4         The proposed Plan is not feasible because the Debtors will
 5   lack sufficient cash to exit bankruptcy at consummation. See In
 6   re M&S Assocs., Ltd., 138 B.R. 845, 848-52 (Bankr. W.D. Tex.
 7   1992) (King, J.); see also In re Save Our Springs (S.O.S.)
 8   Alliance, Inc., 388 B.R. 202, 239-44 (Bankr. W.D. Tex. 2008).
 9         Per the NV Creditor’s memorandum in support of their Plan,
10   they estimates that $368,723.00 will be necessary to pay all
11   unclassified claims, Class 1 and Class 2 Claims.            Presently, the
12   Debtor’s counsel is owed approximately $200,000 in unpaid fees
13   and costs which is far more than the $32,079.40 estimated by the
14   Plan proponents, likewise, the Debtor’s accountant is owed
15   approximately $35,000.00 in unpaid fees.          Thus, the proposed
16   Plan appears to be infeasible by $170,000.00 as the necessary
17   cash on hand should be approximately $570,000.00, considerably
18   more than the $400,000.00 the NV Creditors indicate they have
19   available.
20            Furthermore, it is likely that the claims of Le and Huynh
21   will be allowed in some amount.        If so, the NV Creditors have
22   not demonstrated any ability to pay those claims, which if
23   allowed, would be in class 2, a class of claims that the
24   proposed Plan purports to pay in full. For example, if allowed,
25   the Le claim is in excess of $1,000,000.          There is nothing in
26   the Court record showing that the NV Creditors could pay Le’s
27   claim in full.
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 1            Section 1129(a)(11) requires the plan proponent to show
 2   concrete evidence of a sufficient cash flow to fund and maintain
 3   both its operations and obligations under the plan.            In re
 4   Nelson, 84 B.R. 90, 93 (Bankr.W.D.Tex.1988).           This requirement
 5   prevents the confirmation of visionary schemes which promise
 6   creditors and interest holders more under a proposed plan than
 7   the proponent can possibly provide.          Matter of Pizza of Hawaii,
 8   Inc., 761 F.2d 1374, 1382 (9th Cir.1985).          The feasibility
 9   requirement mandates that the plan proponent offer concrete
10   evidence of sufficient cash flow to fund and maintain both its
11   operations and its obligations under the plan.           Coones v. Mut.
12   Life Ins. Co. of N.Y., 168 B.R. 247, 255 (D.Wyo.1994), aff'd, 56
13   F.3d 77 (10th Cir.1995).
14            Because the success of the Plan proposed by the
15   Proponents is clearly contingent on the Proponents’ Funding
16   Commitment, the NV Creditors must show their ability to make the
17   promised funding.       See In re Repurchase Corp., 332 B.R. 336, 343
18   (Bankr.N.D.Ill.2005) (declaration that individual would
19   contribute needed capital to the debtor was “sheer speculation
20   and wishful thinking” in the “absence of any form of
21   corroboration or contract from the alleged sources of the funds”
22   and therefore could not satisfy feasibility requirement for plan
23   confirmation); In re Wiston XXIV, Ltd. P'ship, 153 B.R. 322,
24   327–28 (Bankr.D.Kan.1993) (holding that plan was not feasible in
25   spite of general partner's promise to contribute $100,000
26   because the general partner showed no proof he could actually
27   make the payment); In re Ralph C. Tyler, P.E., P.S., Inc., 156
28   B.R. 995 (Bankr.N.D.Ohio 1993) (plan not feasible due to lack of
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 1   evidence concerning financing or commitments to provide such
 2   financing).
 3         For this reasons, the projections in the Plan are
 4   inadequate, incomplete, stale, and misleading.           The NV Creditors
 5   should be required to disclose the most up-to-date projections
 6   available, including a disclosure of their “sources and uses,”
 7   and demonstrate that the Plan will be feasible based upon a
 8   comparison of all expected exit funding obligations and
 9   availability at consummation. See, e.g., In re J.D. Mfg., Inc.,
10   2008 WL 4533690, at *2 (Bankr. S.D. Tex. Oct. 2, 2008).
11         C.    The NV Creditors Have Not Met Their Burden to Show
12               that The Plan’s Release and Exculpation Provisions
13               Satisfy Sections 1129(a)(1) and 1129(a)(3)
14         The Plan contains broad release and exculpation provisions
15   that are contrary to the Bankruptcy Code and prevailing
16   authority.       These clauses, if enforced, would provide
17   protections to non-debtor entities.
18               1.      Section 524(e) Prohibits Third Party Discharges
19         Section 524(e) provides that “discharge of a debt of the
20   debtor does not affect the liability of any other entity on, or
21   the property of any other entity for, such debt.” 11 U.S.C. §
22   524(e).    See Underhill v. Royal, 769 F.2d 1426, 1432 (9th Cir.
23   1985), rejected on other grounds by Reves v. Ernst & Young, 494
24   U.S. 56 (1990).       The Ninth Circuit has repeatedly held “without
25   exception, that § 524(e) precludes bankruptcy courts from
26   discharging the liabilities of non-debtors.”           In re Lowenschuss,
27   67 F.3d 1394, 1401 (9th Cir. 1995) (citations omitted).
28   Further, the Ninth Circuit has held that use of the Court’s
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 1   equitable powers under section 105 cannot be used to displace
 2   the express provisions of section 524(e).          Id. at 1402 citing
 3   American Hardwoods, Inc. v. Deutsche Credit Corp. (In re
 4   American Hardwoods, Inc.), 885 F.2d 621, 625 - 26 (9th Cir.1989)
 5   (where the Ninth Circuit expressly rejected use of the court’s
 6   equitable powers to grant relief inconsistent with express
 7   provisions of the Code).       Moreover, because a non-debtor release
 8   is a “device that lends itself to abuse,” even courts that do
 9   not construe § 524(e) as an outright prohibition of the releases
10   of non-debtors in a chapter 11 plan, generally take a very
11   circumscribed approach to such non-debtor releases, recognizing
12   that providing blanket protection to non-debtors, like the
13   releases proposed by the Plan here, is extraordinary relief.
14   Metromedia Fiber Network, Inc., 416 F.3d 136, 142 (2nd Cir.
15   2005)(decided on equitable mootness grounds).           See also Dow
16   Corning Corp., 280 F.3d 648, 658 (6th Cir.), cert. denied, 537
17   U.S. 816 (2002) (injunction in favor of a non-consenting, non-
18   debtor is a “dramatic measure to be used cautiously” and “is
19   only appropriate in ‘unusual circumstances’”).           Therefore,
20   unless there are truly extraordinary circumstances, such as the
21   settlement of massive tort liabilities or an avalanche of
22   litigation, few appellate courts have expressed a willingness to
23   release liability or enjoin the pursuit of claims against non-
24   debtors without an affected party’s consent.           See, e.g., In re
25   Dow Corning Corp., 280 F.3d at 658; SEC v. Drexel Burnham
26   Lambert Group, Inc., 960 F.2d 285 (2nd Cir. 1992), cert.
27   dismissed, 506 U.S. 1088 (1993). If confirmed, the Plan would
28   permit certain third parties to use the Plan as a means to
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 1   release or otherwise discharge claims or actions brought by
 2   creditors against non-debtor third parties, in violation of
 3   section 524(e).    The NV Creditors have not identified any facts
 4   that suggest extraordinary circumstances exist in this case that
 5   warrant the imposition of such broad releases.           The solicitors
 6   of the Plan are already afforded some degree of protection under
 7   section 1125(e) for acting in good faith.          11 U.S.C. § 1125(e).
 8         The parties who seek to benefit from release and
 9   exculpation provisions include the Exculpated Parties (as
10   defined by the Plan), NV Creditors their representatives,
11   including any officer, manager, attorney, financial advisor,
12   accountants and other professionals retained by them, among
13   others.    The release, injunction, and exculpation provisions
14   would, if this Plan is confirmed, permanently bar creditors from
15   pursuing such non-debtor, certain professionals of the NV
16   Creditors, and thereby creating a discharge for those third
17   parties.    For that reason, in In re Pacific Lumber Co., the
18   Court ordered that such broad plan provisions that exculpated
19   non-debtors “from liability---other than for willfulness and
20   gross negligence----related to proposing, implementing, and
21   administering the plan,” be stricken.          In re Pacific Lumber Co.,
22   584 F.3d 229, 251 (5th Cir. 2009).           “The fresh start § 524(e)
23   provides to debtors is not intended to serve [the] purpose” of
24   absolving non-debtors from negligent conduct.”           Id., at 252-53.
25   Clauses such as these seeking to limit liability are generally
26   disfavored by courts in the Ninth Circuit.          In re Metricom,
27   Inc., 275 B.R. 364 (Bankr. N.D. Cal. 2002) (broad
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 1   indemnification and exculpation clauses disapproved); In re WCI
 2   Cable, Inc., 282 B.R. 457, 479 (Bankr. D. Or. 2002).
 3         Sections 1123 and 1129 provide that a plan must comply with
 4   the applicable provisions of the Bankruptcy Code in order to be
 5   confirmed.       11 U.S.C. §§ 1123(b)(6), 1129(a)(1).       One of those
 6   provisions is § 524(e), which states that a discharge releases
 7   only the debtor, not third parties.          11 U.S.C. § 524(e).
 8   Accordingly, controlling Ninth Circuit precedent holds
 9   unequivocally that plans containing such non-debtor releases are
10   not permitted.      The release and exculpation provisions in favor
11   of all non-debtor third parties, including but not limited to:
12   the Exculpated Parties and NV Creditors and any other party,
13   violate section 524(e), and thereby render the Plan
14   unconfirmable.
15               2.      The Court’s Equitable Powers Under 11 U.S.C. §
16                       105 May Not Displace Specific Provisions of
17                       Section 524(e).
18         Although this Court has equitable powers granted under §
19   105(a), the Ninth Circuit has explicitly rejected the
20   proposition that the general equitable powers bestowed by §
21   105(a) can used to displace the specific provisions of § 524(e).
22   In re Lowenschuss, 67 F.3d at 1402; see also American Hardwoods,
23   Inc., 885 F.2d at 625-26 (expressly overturning the bankruptcy
24   court’s ruling permitting such provisions under § 105). In
25   Underhill v. Royal, the Ninth Circuit addressed the issue of
26   whether a bankruptcy court had the power to enforce releases,
27   including consensual releases of a non-debtor third party.                 It
28   held that it did not:
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 1
           [T]he bankruptcy court has no power to discharge the
 2         liabilities of a nondebtor pursuant to the consent of
           creditors a part of a reorganization plan. The broad
 3         language of § 524(e), limiting the scope of a discharge so
           that it ‘does not affect the liability of any other
 4
           entity,’ encompasses this result.
 5         Underhill v. Royal, 769 F.2d at 1432.
 6         The court in Underhill reasoned that “[w]hen a bankruptcy
 7   court discharges the debtor; it does so by operation of the
 8   bankruptcy laws, not by consent of the creditors.” Id.
 9   Consistent with this holding, the Lowenschuss decision confirmed
10   that the Ninth Circuit does not recognize any exception, based
11   on § 105, to the rule that § 524(e) precludes a bankruptcy court
12   from discharging the liabilities of non-debtors.            See also
13   Gillman v. Continental Airlines (In re Continental Airlines),
14   203 F.3d 203, 212 (3rd Cir. 2000). “[W]hatever equitable powers
15   remain in the bankruptcy courts must and can only be exercised
16   within the confines of the Bankruptcy Code.”           Norwest Bank
17   Worthington v. Ahlers, 485 U.S. 197, 207 (1988).
18               3.   The NV Creditors Have Not Demonstrated that the
19                    Limitations of Liability Provisions of the Plan
20                    and the Trust Satisfy Sections 1129(a)(1) and
21                    1129(a)(3).
22         The Plan seeks to limit the liability of the Disbursing
23   Agent to only willful misconduct and, in the case of the
24   Reorganized Debtor.       This is inconsistent with the established
25   standards for personal liability of a trustee.            See e.g., U.S.
26   ex rel. Willoughby v. Howard, 302 U.S. 445, 449 – 454 (1938);
27   Mosser v. Darrow, 341 U.S. 267, 274 (1951); Hall v. Perry (In re
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 1   Cochise College Park, Inc.), 703 F.2d 1339, 1357 (9th Cir. 1983)
 2   (a trustee is subject to personal liability for “intentional
 3   [and] negligent violations of duties imposed upon him by law . .
 4   . .”); U.S. v. Aldrich (In re Rigden), 795 F.2d 727, 730-731
 5   (9th Cir. 1986); Bennett v. Williams, 892 F.2d 822, 823 (9th
 6   Cir. 1989); Curry v. Castillo (In re Castillo), 297 F.3d 940
 7   (9th Cir. 2002) (bankruptcy trustee is subject to personal
 8   liability for certain types of misconduct, including
 9   negligence); In re WCI Cable, Inc., 282 B.R. 457, 479 (Bankr. D.
10   Or. 2002); In re Metricom, Inc., 275 B.R. 364 (Bankr. N.D. Cal.
11   2002); In re Mortgage & Realty Trust, 123 B.R. 626 (Bankr. C.D.
12   Cal. 1991).     No explanation or justification is provided for
13   broadening the limitation of liability beyond what is recognized
14   in the Ninth Circuit and the Code.
15         D.     Multiple Classes Of Unsecured Creditors Are Prohibited
16                Where The Purpose Is To Manipulate Votes.
17              The NV Creditors are the sole unsecured creditors in
18   “Class 3”, a class that is impaired and the only class of
19   creditors entitled to vote to accept or reject the Plan.
20   Inexplicably and illegally, the Proponents place themselves in a
21   class separate from other substantially similar unsecured
22   claims.     This gerrymandering of the classes of claims guarantees
23   that the Proponents can manipulate the vote to ensure
24   confirmation of their Plan.
25              In Oxford Life Ins. Co. v. Tucson Self-Storage, Inc. (In
26   re Tucson Self-Storage), 166 B.R. 892 (9th Cir. BAP 1994), the
27   Court agreed with the “one clear rule” discussed by Phoenix Mut.
28   Life Ins. Co. v. Greystone III Joint Venture (In re Greystone
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 1   III), 995 F.2d 1274, 1278 (5th Cir.1991), that a plan proponent
 2   cannot “classify similar claims differently in order to
 3   gerrymander an affirmative vote on a reorganization plan.”
 4   Where a plan separately classifies similarly-situated creditor
 5   claims . . . in order to create a friendly class to vote for the
 6   plan, the “gerrymandering” of the claims constitutes lack of
 7   good faith.    In re Barakat, 99 F.3d 1520, 1525 (9th Cir.1996).
 8         In the Plan, the NV Creditors created three classes of
 9   general unsecured creditors, Classes 2, 3 and 4, although the
10   claims are all unsecured creditors and have the same priority in
11   a Chapter 7 liquidation.       Class 2 was created in a way that,
12   although composed of general unsecured claims, like those of the
13   Proponents and Class 4, the class is unimpaired and thus not
14   entitled to vote on the Plan.        Class 3, the Proponents’ class,
15   is impaired and thus can vote to reject or approve the Plan, the
16   only class to have this privilege, will undoubtedly vote to
17   approve the Plan it is proposing.         Thus, the NV Creditor’s
18   created a “friendly” class that will vote for the plan,
19   controlled and composed solely by them.          Finally, the claims of
20   Debtor Huynh and other insider claims are in Class 4, in a
21   subordinated class, and deemed to reject the Plan; not entitled
22   to vote.
23            With careful, yet impermissible, gerrymandering of the
24   classes of claims, the Proponents created a situation where they
25   are the only creditors permitted to vote on the Plan.             The very
26   Plan that proposes that the Debtor’s main competitor, the
27   Proponents, takes over the Debtor’s business and ousts its
28   management.
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 1              Had the NV Creditors correctly classified all of the
 2   claims, Classes 2, 3 and 4 would be in one class of general
 3   unsecured creditors, seriously compromising the NV Creditor’s
 4   chance of confirming their Plan, particularly if the Le Claim
 5   were allowed.     The intentional misclassification of claims
 6   described in the Plan describes a plan that is unconfirmable.
 7         E.     Subordination Of Debtor Huynh’s Claim And Of Other
 8                Insiders Is Not Appropriate.
 9         The Plan provides no legal basis for the subordination of
10   Debtor Huynh’s and other insiders’ claims to Class 4.             Buried in
11   paragraph 9 of Exhibit “2” to the Disclosure Statement, the
12   Proponents justify the subordination alleging “[t]he NV
13   Creditors believe that a Chapter 7 Trustee would . . .
14   subordinate these “Insider” claims . . .          Accordingly . . .
15   these claims will be subordinated.”           This discriminatory
16   treatment of Debtor Huynh’s and other insider claims is not fair
17   and equitable because of the Proponents gerrymandering of
18   classes in the Plan.
19         Equitable subordination is an unusual remedy which should
20   be applied only in limited circumstances.          Holt v. Federal
21   Deposit Insurance Corp. (In re CTS Truss, Inc.), 868 F.2d 146,
22   148-49 (5th Cir.1989).       Equitable subordination is remedial, not
23   penal, and should be applied only to the extent necessary to
24   offset the specific harm that the creditors suffered on account
25   of the inequitable conduct.       Trone v. Smith (In re Westgate-
26   California Corp.), 642 F.2d 1174, 1178 (9th Cir.1981).              Mere
27   status as an insider is not sufficient grounds for
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 1   subordination.    Matter of Fabricators, Inc., 926 F.2d 1458, 1465
 2   (5th Cir. 1991).
 3         The purported subordination of Debtor Huynh’s and other
 4   insider unsecured claims is an unfair discrimination of similar
 5   claims; Class 2 receives a 100% dividend on its claim, Class 3
 6   receives 100% of the equity interests of the Reorganized Debtor
 7   and Class 4 (subordinated) unsecured creditors receive nothing.
 8         Discrimination between classes must satisfy four criteria
 9   to be considered fair under 11 U.S.C. § 1129(b): (1) the
10   discrimination must be supported by a reasonable basis; (2) the
11   debtor could not confirm or consummate the Plan without the
12   discrimination; (3) the discrimination is proposed in good
13   faith; and (4) the degree of the discrimination is directly
14   related to the basis or rationale for the discrimination.             In re
15   Ambanc La Mesa Ltd. P'ship, 115 F.3d 650, 656-57 (9th Cir. 1997)
16   citing In re Wolff, 22 B.R. 510, 511-12 (9th Cir. BAP 1982).
17   Moreover, separate classification for the purpose of securing an
18   impaired consenting class under § 1129(a)(10) is improper. In re
19   Ambanc La Mesa Ltd. P'ship, 115 F.3d 650, 656-57 (9th Cir. 1997)
20   citing In re Greystone III Joint Venture, 995 F.2d 1274, 1279
21   (5th Cir.1991), cert. denied, 506 U.S. 821, 113 S.Ct. 72, 121
22   L.Ed.2d 37 (1992), and cert. denied, 506 U.S. 822, 113 S.Ct. 72,
23   121 L.Ed.2d 37 (1992).       Here, the NV Creditors created Class 3,
24   the sole impaired consenting class of which they are the sole
25   creditors, this is precisely what the Ambanc court prohibited.
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 1         F.    The NG Creditors’ Votes Should Be Designated Under 11
 2               U.S.C. 1126(e) As They Were Cast In Bad Faith.
 3         The court may designate any entity whose acceptance or
 4   rejection of such plan was not in good faith, or was not
 5   solicited or procured in good faith or in accordance with the
 6   provisions of this title. 11 U.S.C. § 1126(e).            “Designation” of
 7   a vote means that the vote is disqualified or disallowed.
 8         Bad faith is primarily to be found in ulterior motives, and
 9   motives are deemed “ulterior” only when they are ulterior to the
10   creditor's capacity as a creditor.            In re Bataa/Kierland, LLC,
11   476 B.R. 558, 566 (Bankr. D. Ariz. 2012).           The disqualifying
12   “ulterior motive” exists whenever a party is motivated by
13   interests that are not common to the class of votes that it
14   seeks to dominate.      Id. at 575.
15         Here, the NG Creditors are voting in favor of their own
16   Plan with the sole purpose of taking over the business and
17   assets of their major competitor.         There is no “real”
18   reorganization, Ms. Huynh is the Debtor’s lifeblood, without her
19   there is no The Little Saigon News Incorporated, no voice for
20   the anti-communist movement.        The NG Creditors know that Ms.
21   Huynh will no longer write for the Debtor, if the Plan is
22   confirmed.    This is their ulterior motive, silence Ms. Huynh and
23   Debtor and take over the business, equipment of their major
24   competitor.
25         Likewise, the procurement of votes is permeated with bad
26   faith, the NG Creditors created a Plan where only their votes
27   are procured to the detriment of everyone except themselves.
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 1   They purposefully excluded other like claims and creditors for
 2   not good reason.
 3   III. CONCLUSION
 4         WHEREFORE, for the reasons stated above, the Debtors
 5   respectfully requests that the Court deny confirmation of the
 6   Plan.
 7

 8   Dated:   January 19, 2016           PEÑA & SOMA, APC
 9
                                   By    __/S/ LEONARD PEÑA         ______
10
                                         LEONARD PEÑA
11                                       Attorneys for Debtors and Debtors
                                         in Possession
12

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 1                           DECLARATION OF LEONARD PEÑA
 2         I, Leonard Peña, declare:
 3         1.     I am counsel for the Debtor in the above captioned
 4   case.      I have personal knowledge of the facts set forth below
 5   and, if called to testify, I would and competently testify
 6   thereto.
 7         2.     As of the date of the signing of this declaration my
 8   firm and I have incurred approximately $200,000 in yet unpaid
 9   fees and costs in representing the Debtor in this case.
10         3.     I am informed and believe that the Debtor’s accountant
11   is owed approximately $32,000 in unpaid fees incurred
12   representing the Debtor.
13

14         I declare under penalty of perjury under the laws of the
15   United States of America that the foregoing is true and correct.
16   Executed on January 19, 2016, at Pasadena, California.
17

18
                                   ____/S/ LEONARD PEÑA ___________
19
                                         LEONARD PEÑA
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 In re:                                                                                                                        CHAPTER: 11
            THE LITTLE SAIGON NEWS INCORPORATED
                                                                                                             Debtor(s).        CASE NUMBER: 8:15-bk-11875




                                                PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
PEÑA & SOMA, APC
402 South Marengo Ave., Suite B
Pasadena, CA 91101

A true and correct copy of the foregoing document entitled (specify): OBJECTION TO PLAN will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On 1/19/2016 , I checked the CM/ECF
docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
List to receive NEF transmission at the email addresses stated below:
Sandor T Boxer on behalf of Defendant Michael Nguyen
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Nancy S Goldenberg on behalf of U.S. Trustee United States Trustee (SA)
nancy.goldenberg@usdoj.gov

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Leonard Pena on behalf of Attorney Leonard Pena
                        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                                                                  9013-3.1.PROOF.SERVICE
               Case 8:15-bk-11875-MW                      Doc 230 Filed 01/19/16 Entered 01/19/16 23:00:53                                                        Desc
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 In re:                                                                                                                          CHAPTER 11
          The Little Saigon News Incorporated
                                                                                                               Debtor(s).        CASE NUMBER 8:15-bk-11875


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    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 1/19/2016 , I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
after the document is filed.

Honorable Judge Mark S. Wallace
United States Bankruptcy Court
411 West Fourth Street, Suite 6135 / Courtroom 6C
Santa Ana, CA 92701-4593
                                                                                                      Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on       , I served the following persons and/or entities by
personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.

                                                                                                      Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
1/19/16                     Leonor Arteaga                                                               /s/ Leonor Arteaga
Date                        Printed Name                                                                 Signature




                          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

January 2009                                                                                                                                                   F 9013-3.1
